Case 2:20-cv-18531-ES-MAH Document 98 Filed 08/27/21 Page 1 of 3 PageID: 962




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Attorneys for Plaintiff
United HealthCare Services, Inc.

[Additional Counsel Listed on Signature Page]


                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY



UNITED HEALTHCARE SERVICES,                        Civil Action No. 20-cv-18531-ES-MF
INC.,
                                                   Hon. Esther Salas, U.S.D.J.
                       Plaintiff,                  Hon. Mark Falk, U.S.M.J.

            v.                                     LOCAL CIVIL RULE 7.1.1
                                                   STATEMENT
CELGENE CORPORATION,
                                                   DOCUMENT FILED
                       Defendant.                  ELECTRONICALLY



       Pursuant to Local Civil Rule 7.1.1, Boies Schiller Flexner LLP, counsel for
Plaintiff United HealthCare Services, Inc. (“UHS”), states as follows:
       1.        The identity of the funder(s), including the name, address, and if a legal
entity, its place of formation:
                 Name:                      PBNHPM Finance LLC
                 Address:                   c/o Corporation Service Company

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Case 2:20-cv-18531-ES-MAH Document 98 Filed 08/27/21 Page 2 of 3 PageID: 963




                                         251 Little Falls Drive
                                         Wilmington, DE 19808
             Place of Formation:         Delaware


      2.     Whether the funder’s approval is necessary for litigation decisions or
settlement decisions in the action and if the answer is in the affirmative, the nature of
the terms and conditions relating to that approval:
             PBNHPM Finance LLC’s approval is not necessary for any litigation
             decisions or settlement decisions in this action.


      3.     A brief description of the nature of the financial interest:
             Non-recourse receivables financing provided to Boies Schiller Flexner
             LLP. Neither UHS nor Zelle LLP (as co-counsel firm) is party to Boies
             Schiller Flexner LLP’s financing arrangement with PBNHPM Finance
             LLC. UHS is not in privity with PBNHPM Finance LLC. UHS’s
             financial interest in this litigation is not impacted in any way whatsoever
             by Boies Schiller Flexner LLP’s financing arrangement with PBNHPM
             Finance LLC.

Dated: August 27, 2021                             Respectfully submitted,

BOIES SCHILLER FLEXNER LLP                         ZELLE LLP
By: /s/Sabina Mariella                             Judith A. Zahid*
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                                            2
Case 2:20-cv-18531-ES-MAH Document 98 Filed 08/27/21 Page 3 of 3 PageID: 964




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